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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Senator RICHARD BLUMENTHAL, et
 al.,

                         Plaintiffs,
                                                       No. 17-cv-1154-EGS
                 v.

 DONALD J. TRUMP, in his official
 capacity as President of the United States,

                         Defendant.



                DEFENDANT’S NOTICE OF SUPPLEMENT AUTHORITY

        Defendant Donald J. Trump, President of the United States, hereby provides notice of the

Supreme Court’s recent decision in Virginia House of Delegates v. Bethune-Hill, No. 18-281

(U.S. June 17, 2019) (slip op.), which is relevant to the President’s pending motion for

certification for interlocutory appeal pursuant to 28 U.S.C. § 1292(b), ECF Nos. 60, 71. A copy

of the decision is attached to this notice. See Ex. A.

        In Bethune-Hill, the Supreme Court held that one house of Virginia’s General

Assembly—there the Virginia House of Delegates—lacks standing to defend the

constitutionality of a Virginia statute. The Court held that the Virginia Constitution’s grant of

lawmaking authority to the “General Assembly,” of which the Virginia House of Delegates

“constitutes only a part,” means that the House of Delegates has no cognizable interest in

litigation concerning the constitutionality of a state redistricting plan. Slip op. at 8; see id. at 7–

10. Citing Raines v. Byrd, 521 U.S. 811, 819 (1997), the Court explained that “[j]ust as

individual members lack standing to assert the institutional interests of a legislature . . . a single




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House of a bicameral legislature lacks capacity to assert interests belonging to the legislature as a

whole.” Slip op. at 8.

       Similarly here, the Foreign Emoluments Clause empowers “Congress”—not individual

Members of either House of Congress—to provide consent to the receipt of prohibited foreign

Emoluments.     Therefore, Bethune-Hill teaches that even the House of Representatives or the

Senate would not have standing to enforce the Foreign Emoluments Clause in this Court, let

alone individual Members of Congress.

       Bethune-Hill itself constitutes a basis to dismiss this lawsuit for lack of standing. At a

minimum, the decision demonstrates that there are substantial grounds for difference of opinion

about Plaintiffs’ standing to sue and that interlocutory review of the Court’s order concerning

Plaintiffs’ standing is warranted.

Dated: June 20, 2019                               Respectfully submitted,

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                                                     Deputy Assistant Attorney General

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                                                     /s/ James R. Powers
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 20, 2019, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.
                                                    /s/ James R. Powers
                                                    JAMES R. POWERS
